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                                                                9                                  UNITED STATES DISTRICT COURT
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                                                                                                           DISTRICT OF NEVADA
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                                                               12     MICHELLE PEREDIA, on behalf of               Case No. 2:23-cv-02132-APG-MDC
                                                                      herself and all others similarly situated,
                                                               13                                                  JOINT STIPULATION TO CONTINUE STAY
                                                                                     Plaintiff,                    OF ALL DISCOVERY DEADLINES AND TO
                                                               14            v.                                    EXTEND TOLLING PERIOD FOR 60 DAYS

                                                               15     KANE & MYERS, PLLC, d/b/a and                [First Request]
                                                                      a/k/a THE702FIRM; MICHAEL
                                                               16     KANE, an individual; BRADLEY
                                                                      MYERS, an individual; JOEL
                                                               17     HENGSTLER, an individual;
                                                                      TAMARA J. HARLESS, an individual;
                                                               18     and DOES 1 through 50, inclusive,

                                                               19                    Defendants.

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                                                               22           IT IS HEREBY STIPULATED by and between Plaintiff MICHELLE PEREDIA (“Plaintiff”),
                                                               23 on behalf of herself and all others similarly situated (“Putative Members”), and Defendants KANE &

                                                               24 MYERS, PLLC d/b/a and a/k/a THE702FIRM, MICHAEL KANE, BRADLEY MYERS, JOEL

                                                               25 HENGSTLER, TAMARA HARLESS (collectively “Defendants”), by and through their undersigned

                                                               26 counsel of record, that all discovery deadlines be stayed for an additional 60 days and that the tolling

                                                               27 period for Plaintiff’s claims, including those of Putative Members, be extended an additional 60 days

                                                               28 through September 22, 2024. This stipulation is submitted and based upon the following:
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                                                                                  STIPULATION TO CONTINUE DISCOVERY STAY AND EXTEND TOLLING
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                                                                1          1.     Plaintiff commenced the above-captioned action (“Action”) in the Eighth Judicial

                                                                2 District Court, Clark County, Nevada, on November 22, 2023. ECF No. 1-2. Defendants removed

                                                                3 Plaintiff’s Action to this Court on December 27, 2023. ECF No. 1.

                                                                4          2.     Plaintiff’s Class and Collective Action Complaint (“Complaint”) asserted five class

                                                                5 action wage claims under Nevada state law and two collective action wage claims under the Fair

                                                                6 Labor Standards Act (“FLSA”). ECF No. 1-2. The Complaint asserts claims for the benefit of

                                                                7 Plaintiff as well as similarly situated Putative Members, which comprises “Nevada Class Members”

                                                                8 and “FLSA Collective Members” as those terms are defined in Plaintiff’s Complaint.

                                                                9          3.     Defendants filed a motion to dismiss Plaintiff’s Complaint (“Motion to Dismiss”) on
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                                                               10 January 3, 2024. ECF No. 6. Plaintiff opposed the Motion to Dismiss on January 18, 2024, and

                                                               11 Defendants filed a supporting reply on January 25, 2024. See ECF Nos. 11 & 13.

                                                               12          4.     On February 2, 2024, the parties met and conferred regarding a discovery plan and

                                                               13 scheduling order pursuant to FRCP 26(f), but were unable to agree on a joint plan based on

                                                               14 Defendants’ view that discovery should be stayed pending resolution of their Motion to Dismiss. See

                                                               15 ECF No. 18 at 2, ll. 1-8. Plaintiff offered to stipulate to a discovery stay if Defendants would agree

                                                               16 to toll the statute of limitations on all of Plaintiff’s and Putative Members’ claims. Id. Defendants

                                                               17 declined Plaintiff’s offer and declined to participate in the filing of a joint discovery plan and

                                                               18 scheduling order. Id. Plaintiff subsequently filed a proposed discovery plan and scheduling order

                                                               19 (“DPSO”) on February 2, 2024, and Defendants moved to stay discovery (“Stay Motion”) on February
                                                                  5, 2024. See ECF Nos. 18 & 19.
                                                               20
                                                                          5.      Plaintiff opposed the Stay Motion and Defendants filed a supporting reply. See ECF
                                                               21
                                                                  Nos. 20 & 21. The Court ordered a hearing before Magistrate Judge Maximiliano Couvillier III
                                                               22
                                                                  regarding Plaintiff’s DPSO and Defendants’ Stay Motion on April 24, 2024. ECF No. 23. The parties
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                                                                  appeared at the hearing and agreed on the record to stay discovery until July 24, 2024, and also agreed
                                                               24
                                                                  on a tolling period from February 2, 2024, through July 24, 2024. See ECF No. 25. Magistrate Judge
                                                               25
                                                                  Couvillier denied Plaintiff’s DPSO and Defendant’s Stay Motion as moot, and also ordered the parties
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                                                                  to “submit a Stipulation by July 24, 2024, regarding the status of defendant's Motion to Dismiss and
                                                               27
                                                                  the parties' position on discovery, tolling, and continued stay.” Id. This Stipulation is submitted
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                                                                                STIPULATION TO CONTINUE DISCOVERY STAY AND EXTEND TOLLING
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                                                                1                                    CERTIFICATE OF SERVICE

                                                                2 I hereby certify that, on the date shown file stamped on this pleading, I served a copy of the

                                                                3 foregoing pleading via electronic service in accordance with the Court’s order and Local Rules

                                                                4 and that it was served on all parties registered with the Court’s CM/ECF system of electronic service.

                                                                5                                        /s/ Jason Kuller
                                                                6                                        JASON KULLER

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                                                                              STIPULATION TO CONTINUE DISCOVERY STAY AND EXTEND TOLLING
